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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                              SOUTHERN DIVISION


KASEY D. ALVES                                   §                         PLAINTIFF
                                                 §
                                                 §
v.                                               § CIVIL ACTION NO. 1:06CV912-LG-JMR
                                                 §
                                                 §
HARRISON COUNTY, MISSISSIPPI                     §
and SHERIFF GEORGE PAYNE, JR.                    §                       DEFENDANTS


                              AGREED ORDER OF DISMISSAL

       Pursuant to the agreement of the parties, the defendant, Sheriff George Payne, Jr., in his

official capacity is dismissed from this lawsuit. The parties agree that Sheriff Payne’s presence

in this lawsuit is superfluous, since Harrison County is a defendant to this lawsuit and Sheriff

Payne was only sued in his official capacity.

       IT IS THEREFORE ORDERED AND ADJUDGED that Sheriff George Payne, Jr., is

DISMISSED from this lawsuit.

       SO ORDERED AND ADJUDGED this the 23rd day of April, 2009.




                                                      s/   Louis Guirola, Jr.
                                                      LOUIS GUIROLA, JR.
                                                      UNITED STATES DISTRICT JUDGE
